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APPENDIX G
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Subject:                      FW: Slusser




---------- Forwarded message ---------
From: Gary Brickwood<gb@brickwoodlaw.com>
Date: Sun, Oct 27, 2024 at 10:25 AM
Subject: Slusser
To: <todd.kress@sjsu.edu>


A person has a constitutional right as an individual to join or file a lawsuit challenging another person's
right to play a sport. That player does not have a right as a team member to lie on public media about
danger posed by the teammate in order to attempt to ban the teammate from playing or to cause the
team as a whole to in effect forfeit its remaining games knowing other schools will act like blockheads.
Slusser's statements are on video and cannot effectively be denied. The results cannot be denied. The
school and you as coach along with the AD I presume have the discretion to decide that Slusser is
knowingly harming her teammate and the volleyball team and should lose her playing position, co-
captain position and her scholarship. She does not have a C right to play, or to be falsely positioned as a
leader. Do you think another athlete could knowingly falsely accuse a teammate of using performance
enhancing drugs in order to cause the teammate to be banned from playing and yet assert a C right to
stay on the team, much less to play and be a captain and be repeatedly called a leader of the team?

It is apparent that Slusser's mother and her daughter feel hatred toward trans people. The school should
stop facilitating the public display of that hatred.




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